8:08-cr-00473-BCB-SMB         Doc # 143   Filed: 11/16/09      Page 1 of 1 - Page ID # 379




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )                CASE NO. 8:08CR473
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )
                                            )                      ORDER
TODD CHARLES MATTHEWS,                      )
                                            )
              Defendant.                    )


       This matter is before the Court on the Defendant’s motion to extend his self

surrender date for an additional 60 days (Filing No. 141).

       IT IS ORDERED that the Defendant’s motion to extend his self-surrender date

(Filing No. 141) is denied.

       DATED this 16th day of November, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
